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                                                 NOTE CHANGES BY THE COURT
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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11   MAX KLEVEN, an individual; RIN,         Case No. CV 13-02783-AB (AGRx)
       INC., a California corporation,
  12
                  Plaintiffs,
  13
            vs.                                JUDGMENT AS TO DEFENDANT
  14                                           BELLEAIR TRADING
  15   DAPHNE HEREFORD, an individual;         INTERNATIONAL, LLC ON
       RIN TIN TIN, INC., a Texas              CLAIMS BROUGHT BY
  16   Corporation; BELLEAIR TRADING           PLAINTIFF RIN, INC. AND
       INTERNATIONAL, LLC, a Florida           PLAINTIFF-IN-INTERVENTION
  17   limited liability company DOES 1        SHAMROCK ENTERTAINMENT,
  18   through 20, inclusive                   LTD.

  19              Defendants.
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       AND COUNTERCLAIMS AND
  21   CLAIMS IN INTERVENTION
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   1                                       JUDGMENT
   2         Having considered the Stipulation of Plaintiff Rin, Inc. (“Rin”) and Plaintiff-
   3   in-intervention Shamrock Entertainment, Ltd. (“Shamrock”), on the one hand, and
   4   Defendant Belleair Trading International, LLC (“Belleair”), on the other hand, for
   5   entry of Judgment, and having, after trial to the Court, issued the Court’s Findings of
   6   Fact and Conclusions of Law as to Rin and Shamrock’s claims for cancellation of
   7   federal trademark registrations (Document No. 210), and having found that entry of
   8   Judgment as provided herein as to Rin and Shamrock’s claims against Belleair
   9   pursuant to Fed. R. Civ. P. 54(b) is appropriate, with no just reason for delay, the
  10   Court hereby ORDERS AND ADJUDGES that the following federal trademark
  11   registrations, and each of them, be and hereby are CANCELLED:
  12         1.     “RIN TIN TIN” Mark (stylized), Reg. No. 1763135, originally
  13   registered to Daphne Hereford (“Hereford”) on April 6, 1993, International Class
  14   031 for live German Shepherd puppies;
  15         2.     “RIN TIN TIN CANINE AMBASSADOR CLUB,” Reg. No. 2384745,
  16   originally registered to Rin Tin Tin, Inc. (“RTTI”) on June 20, 2000, International
  17   Class 041 for the promotion of responsible dog ownership through programs
  18   presented to schools and groups;
  19         3.     “RIN TIN TIN,” Reg. No. 2538312, originally registered to Hereford
  20   on February 12, 2002, International Class 041 for mail order fan club service
  21   providing materials promoting the breeding, training, raising, and showing of
  22   authentic Rin Tin Tin German Shepherd dog lineage;
  23         4.     “RIN TIN TIN,” Reg. No. 2969852, originally registered to Hereford on
  24   July 19, 2005, International Class 016 for printed publications, namely, magazines,
  25   pamphlets, books, and comic books about German Shepherd dogs; activity and
  26   coloring books, posters, stickers, business cards, and cards in the nature of greeting
  27   cards and trading cards; International Class 028 for playing cards; and International
  28   Class 41 for entertainment services in the nature of an ongoing television series in
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   1   the field of variety and motion pictures featuring a German Shepherd dog as a live or
   2   animated character;
   3         5.     “RIN TIN TIN,” Reg. No. 3111161, originally registered to Hereford on
   4   July 4, 2006, International Class 016 for printed publications, namely children’s books;
   5         6.     “RIN TIN TIN,” Reg. No. 3215700, originally registered to Hereford
   6   on March 6, 2007, International Class 018 for dog clothing, dog collars, dog leashes,
   7   dog shoes, handbags, purses, and tote bags; International Class 021 for bowls,
   8   brushes for pets, cups, mugs, pet brushes, and pet feeding brushes; International
   9   Class 025 for caps, hats, jackets, muffs, scarves, slippers, sweat shirts, and t-shirts;
  10   and International Class 028 for board games, dog toys, plush toys, puzzles, and soft
  11   sculpture plush toys;
  12         7.     “RIN TIN TIN,” Reg. No. 3380788, originally registered to Hereford
  13   on February 12, 2008, International Class 031 for dog food;
  14         8.     “RIN TIN TIN,” Reg. No. 3582436, originally registered to Hereford
  15   on March 3, 2009, International Class 031 for live German Shepherd dogs of Rin
  16   Tin Tin lineage; and International Class 041 for animal exhibitions and live animal
  17   performances featuring a German Shepherd dog; and
  18         9.     “RIN TIN TIN,” Reg. No. 4263551, originally registered to Hereford
  19   on December 25, 2012, International Class 041 for entertainment services in the
  20   field of motion pictures featuring a German Shepherd dog (collectively, the “Rin Tin
  21   Tin Trademark Registrations”).
  22         IT IS FURTHER ORDERED AND ADJUDGED that the United States
  23   Patent and Trademark Office is directed to cancel the Rin Tin Tin Trademark
  24   Registrations.
  25         IT IS FURTHER ORDERED AND ADJUDGED that, upon entry by the
  26   Court of this Judgment, all of Rin and Shamrock’s claims against Belleair not
  27   adjudicated by this Judgment shall be and hereby are dismissed with prejudice.
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   1         IT IS FURTHER ORDERED AND ADJUDGED that the Court shall retain
   2   jurisdiction of this matter for purposes of enforcement of Rin, Shamrock, and
   3   Belleair’s Settlement Agreement dated as of November 6, 2015.
   4         IT IS FURTHER ORDERED AND ADJUDGED that Rin and Shamrock,
   5   on the one hand, and Belleair, on the other hand, shall each bear their respective
   6   costs and attorneys’ fees.
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       Dated: December 7, 2015           ______________________________________
  10                                     HONORABLE ANDRÉ BIROTTE JR.
                                         UNITED STATES DISTRICT JUDGE
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